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                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MAINE


UNITED STATES OF AMERICA,             )
                                      )
                   v.                 )
                                      )       2:18-cr-00013-JDL-1
ABIJAH WILLIAMS,                      )
                                      )
      Defendant.                      )



     ORDER ACCEPTING THE RECOMMENDED DECISION OF THE
                    MAGISTRATE JUDGE

      Abijah Williams, proceeding pro se, moves under 28 U.S.C.A. § 2255 (West

2024) to vacate, set aside, or correct his sentence (ECF No. 207). United States

Magistrate Judge John C. Nivison filed his Report and Recommended Decision on

Williams’s motion on January 25, 2024 (ECF No. 216), pursuant to 28 U.S.C.A.

§ 636(b)(1)(B) (West 2024) and Rule 8(b) of the Rules Governing Section 2255

Proceedings. Williams filed an objection to the Recommended Decision on February

8, 2024 (ECF No. 217), without response from the Government.

      I have reviewed and considered the Magistrate Judge’s Recommended

Decision, together with the entire record, and have made a de novo determination of

all matters adjudicated by the Recommended Decision.           I concur with the

recommendations of the United States Magistrate Judge for the reasons set forth in

his Recommended Decision, and I conclude that no further proceeding is necessary.

      It is therefore ORDERED that the Recommended Decision of the Magistrate

Judge (ECF No. 216) is hereby ACCEPTED, and that Williams’s 28 U.S.C.A. § 2255

motion (ECF No. 207) is DENIED. It is further ORDERED that no certificate of

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appealability should issue in the event Williams files a notice of appeal because there

is no substantial showing of the denial of a constitutional right within the meaning

of 28 U.S.C.A. § 2253(c)(2) (West 2024).

      SO ORDERED.

      Dated this 1st day of May, 2024.


                                                        /s/ JON D. LEVY
                                                     U.S. DISTRICT JUDGE




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